        Case 2:18-cv-00230-JAK-GJS Document 11 Filed 01/10/18 Page 1 of 3 Page ID #:52

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________
Netflix Studios, LLC; Amazon Content Services, LLC;
Columbia Pictures Industries, Inc.; Disney Enterprises,               )
  Inc.; Paramount Pictures Corporation; Twentieth                     )
Century Fox Film Corporation; Universal City Studios                  )
 Productions LLLP; Warner Bros. Entertainment Inc.                    )
                                                                      )
                            Plaintiff(s)                              )
                                                                             Civil Action No. 2:18-cv-00230-JAK (GJSx)
                                v.                                    )
                                                                      )
 Dragon Media Inc. d/b/a Dragon Box; Paul Christoforo;                )
                     Jeff Williams,                                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DRAGON MEDIA INC. D/B/A/ DRAGON BOX
                                           2740 Circulo Santiago
                                           Carlsbad, CA 92008


                                           (additional Defendants attached hereto)


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Kelly M. Klaus
                                           MUNGER, TOLLES & OLSON LLP
                                           350 South Grand Avenue, 50th Floor
                                           Los Angeles, CA 90071



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:     January 10, 2018
                                                                                         Signature of Clerk or Deputy Clerk
Case 2:18-cv-00230-JAK-GJS Document 11 Filed 01/10/18 Page 2 of 3 Page ID #:53



             ADDITIONAL DEFENDANTS FOR SUMMONS IN A CIVIL ACTION



PAUL CHRISTOFORO
4842 La Paz Ct.
Carlsbad, CA 92010

JEFF WILLIAMS
361 N. Old Quarry Rd #361
Larkspur, CA 94399-2226




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         Case 2:18-cv-00230-JAK-GJS Document 11 Filed 01/10/18 Page 3 of 3 Page ID #:54

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:18-cv-00230-JAK (GJSx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
